      Case 2:10-cr-00186-MHT-WC Document 858 Filed 04/04/11 Page 1 of 4




                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE MIDDLE DISTRICT OF ALABAMA
                              NORTHERN DIVISION

UNITED STATES OF AMERICA                  )
                                          )
v.                                        )      CR. NO. 2:10cr186-MHT
                                          )
THOMAS COKER                              )
MILTON E. MCGREGOR                        )

       RECOMMENDATION OF THE MAGISTRATE JUDGE

       Before the court are Defendant Coker’s Motion to Dismiss Count Ten (Doc. #426)

and Defendant McGregor’s Motion to Dismiss or Other Relief, of Counts Five and Ten (Doc.

#451). The Government has filed a Response (Doc. #609) to the motions. For the reasons

that follow, the undersigned RECOMMENDS that the Motions be DENIED as to their

requests for dismissal.

I.     DISCUSSION

       Coker alleges that Count Ten is duplicitous and McGregor alleges that both Counts

Five and Ten are duplicitous. Both Defendants request that the court dismiss the duplicitous

counts. The Government disagrees with defendants’ assertions of duplicity, but also argues

that any chance of duplicity can be cured through proper jury instructions.

       “A count in an indictment is duplicitous if it charges two or more ‘separate and

distinct’ offenses. A duplicitous count poses three dangers:(1) A jury may convict a

defendant without unanimously agreeing on the same offense; (2) A defendant may be

prejudiced in a subsequent double jeopardy defense; and (3) A court may have difficulty
      Case 2:10-cr-00186-MHT-WC Document 858 Filed 04/04/11 Page 2 of 4




determining the admissibility of evidence.” United States v. Schlei, 122 F.3d 944, 977 (11th

Cir. 1997) (internal citations omitted).

       Coker’s concern is that Count Ten lumps the separate offenses in Counts Eleven and

Twelve into the single count. Coker’s Motion (Doc. #426) at 2. Likewise, McGregor makes

the same argument but also asserts that Counts Six and Seven are duplicitous of Count Five.

McGregor’s Motion (Doc. #451) at 1-2. Coker and McGregor request dismissal, however

they both admit that lesser remedies, such as striking part of the charges and/or requiring the

Government to make an election as to which part of the charges to pursue, are reflected in

the case law.

       The Government defends the charges by essentially making an election and indicating

which counts relate to which individual defendants. Further, the Government asserts that

“the United States has confirmed on the record, [in its brief] and in Count One of the

Indictment, that the pending charges relate specifically to the defendants’ individual

conduct.” Resp. (Doc. #609) at 5.

       As Defendants admit, dismissal of the charges would be an extraordinary remedy that

runs counter to case law. In light of the representations made by the Government concerning

which charges apply to which individuals and the district judge’s ability to correct any

duplicitous nature in the indictment through jury instructions (and/or other remedies), this

court finds that dismissal is unwarranted.1 See United States v. Robinson, 651 F.2d 1188,

       1
        The undersigned makes no recommendation as to whether any other remedies are
necessary or what they might be, because those decisions may impact the presentment of

                                               2
      Case 2:10-cr-00186-MHT-WC Document 858 Filed 04/04/11 Page 3 of 4




1195 (6th Cir. 1981) (dismissal of a duplicitous indictment “is not the proper remedy”).

II.    CONCLUSION

       For the reasons stated above, the Magistrate Judge RECOMMENDS that Defendant

Coker’s Motion to Dismiss Count Ten (Doc. #426) and Defendant McGregor’s Motion to

Dismiss or Other Relief, of Counts Five and Ten (Doc. #451) be DENIED as to their requests

for dismissal.

       Further, it is

       ORDERED that the parties are DIRECTED to file any objections to the said

Recommendation by April 18, 2011. Any objections filed must specifically identify the

findings in the Magistrate Judge’s Recommendation objected to. Frivolous, conclusive or

general objections will not be considered by the District Court. The parties are advised that

this Recommendation is not a final order of the court and, therefore, it is not appealable.

       Failure to file written objections to the proposed findings and recommendations in the

Magistrate Judge’s report shall bar the party from a de novo determination by the District

Court of issues covered in the report and shall bar the party from attacking on appeal factual

findings in the report accepted or adopted by the District Court except upon grounds of plain

error or manifest injustice. Nettles v. Wainwright, 677 F.2d 404 (5th Cir. 1982); see also



evidence at trial or instructions to the jury, and thus fall outside the undersigned’s purview. See
United State v. Place, -- F. Supp. 2d --, 2010 WL 4449599 *1 (D. Mass. Nov. 5, 2010) (“When
presented with duplicitous counts, the Court may decide whether to give a unanimity instruction
to the jury or to require the government to elect a theory of prosecution.”) This recommendation
simply addresses Defendants’ request for dismissal.

                                                 3
      Case 2:10-cr-00186-MHT-WC Document 858 Filed 04/04/11 Page 4 of 4




Stein v. Reynolds Securities, Inc., 667 F.2d 33 (11th Cir. 1982); see also Bonner v. City of

Prichard, 661 F.2d 1206 (11th Cir. 1981) (en banc), adopting as binding precedent all of the

decisions of the former Fifth Circuit handed down prior to the close of business on

September 30, 1981).

       DONE this 4th of April, 2011.
                                          /s/ Wallace Capel, Jr.
                                          WALLACE CAPEL, JR.
                                          UNITED STATES MAGISTRATE JUDGE




                                             4
